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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

LADDY CURTIS VALENTINE and                §
RICHARD ELVIN KING, individually and      §
on behalf of those similarly situated,    §
       Plaintiffs,                        §
                                          §
v.                                        § Civil Action No. 4:20-cv-01115
                                          §
BRYAN COLLIER, in his official capacity,  §
ROBERT HERRERA, in his official capacity, §
And TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                                  §
      Defendants.                         §


 DEFENDANTS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Defendants Bryan Collier (“Collier”), Robert Herrera (“Herrera”), and the Texas

Department of Criminal Justice (“TDCJ”) (collectively, “Defendants”) submit the following

proposed findings of fact and conclusions of law.

                          Plaintiffs’ Claims and Procedural History

       Plaintiffs filed this putative class action suit on March 30, 2020, alleging that Defendants

have failed to adequately protect them and other similarly situated inmates within the Pack Unit

who are at high risk for severe illness should they become exposed to COVID-19. ECF 1 at 1. While

Plaintiffs concede that the Texas Department of Criminal Justice (“TDCJ”) has implemented

policies in response to the COVID-19 pandemic, they contend that those policies are “woefully

inadequate.” Id. at 15, ¶ 31. Plaintiffs contend that Defendants’ failure to implement adequate

policies to protect their health and ensure their safety amounts to an Eighth Amendment violation.

Id. at 28-29, ¶ 73-79. Plaintiffs also allege TDCJ has intentionally discriminated against them by
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denying them reasonable accommodations recommended by the United States Center for Disease

Control and Prevention (“CDC”) in violation of the Americans with Disabilities Act (“ADA”)

and the Rehabilitation Act (“RA”). Id. at 29, ¶ 81. Plaintiffs seek injunctive and declaratory relief

only. Id. at 24, ¶ 96-100.

       On April 16, 2020, the Court entered a preliminary injunction order requiring Defendants

to take specific actions Plaintiffs requested. ECF 40. On April 22, 2020, the Fifth Circuit stayed

the Court’s preliminary injunction order pending Defendants’ appeal of the order. See Valentine v.

Collier, 956 F.3d 797, 801–05 (5th Cir. 2020) (“Valentine I”). On June 5, 2020, the Fifth Circuit

vacated the Court’s preliminary injunction order, noting that TDCJ has substantially complied

with the measures ordered by the Court. See Valentine v. Collier, 960 F.3d 707, 707 (5th Cir. 2020)

(“Valentine II”).

       During the pendency of Defendants’ appeal of the Court’s preliminary injunction order,

Defendants filed a motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6). ECF 53. On July 2, 2020, the Court denied Defendants’ motion to dismiss. ECF 172.

Plaintiffs also filed an emergency motion for class certification. ECF 94. On June 27, 2020, the

Court granted Plaintiffs’ motion for class certification. ECF 160. On July 13, 2020, the case

proceeded to a ___ day bench trial before this Court. Pursuant to Federal Rule of Civil Procedure

52, the Court announces and adopts the following findings of fact and conclusions of law.

                                     FINDINGS OF FACT

The COVID-19 Pandemic

1.     Coronavirus disease 2019 (“COVID-19”) is an infectious disease caused by severe acute

       respiratory syndrome coronavirus 2 (SARS-CoV-2).




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2.     Common symptoms of COVID-19 include, but are not limited to, fever, cough, fatigue,

       shortness of breath, and loss of smell and taste. While most cases result in mild symptoms,

       other cases may progress to acute respiratory distress syndrome (ARDS), multi-organ

       failure, septic shock, and blood clots.

3.     COVID-19 is primarily spread between people during close contact, most often via small

       droplets produced by coughing, sneezing, and talking.

4.     COVID-19 was first identified in December 2019 in Wuhan, China, and it has resulted in

       an ongoing global pandemic.

5.     As of July 6, 2020, more than 11.5 million cases have been reported globally. Approximately

       535,000 deaths have resulted.

6.     There have been approximately 2.98 million reported cases of COVID-19 in the United

       States, resulting in approximately 132,000 deaths. The first case of COVID-19 in the

       United States was confirmed in Washington State on January 21, 2020.

7.     There have been approximately 200,000 reported cases of COVID-19 in Texas, resulting

       in approximately 2,666 deaths. The first case of COVID-19 in Texas was confirmed on

       March 4, 2020.

8.     On March 13, 2020, Texas Governor Greg Abbott issued a disaster proclamation, certifying

       that COVID-19 posed an imminent threat of disaster for all counties in the State of Texas.

TDCJ’s Early Planning in Response to Threat of COVID-19

9.     TDCJ began discussing how it planned to respond the to the threat of COVID-19 before

       the first case in Texas was confirmed and before Governor Abbott issued his disaster

       proclamation.




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10.     On February 26, 2020, Dr. Lannette Linthicum, Director of the Health Services Division

        for TDCJ, attended a meeting of the Correctional Managed Health Care Committee

        (“CMHCC”) partners to discuss planning and response to the coronavirus.

11.     CMHCC is a separate entity from TDCJ. It is a body created by the Texas Legislature that

        is responsible for developing the offender healthcare plan in TDCJ. The Legislature has

        charged the CMHCC with developing the policies and procedures to support that

        healthcare plan. [Dr. L. Depo at 16:7-12]. Dr. Linthicum is TDCJ’s representative on the

        CMHCC.

12.     On February 28, 2020, TDCJ began receiving guidance documents from the Texas

        Department of Emergency Management (“TDEM”) and the Department of State Health

        Services (“DSHS”).

13.     In late February and early March—Collier began corresponding with Linthicum about

        preparations for COVID-19.

14.     In late February 2020, TDCJ began cleaning and disinfecting its facilities at a higher level

        in response to the risk of COVID-19.

15.     On March 4, 2020, Collier attended a meeting with Linthicum and TDCJ’s university

        healthcare providers—Texas Tech University Health Sciences Center (“Texas Tech”)

        and the University of Texas Medical Branch (“UTMB”)—regarding TDCJ’s response to

        COVID-19.

16.     At the March 4 meeting, there was a discussion about bed capacity, unit capability, the

        healthcare response to COVID-19, expectations that needed to be thought through, what




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        to do if there was a large number of positive offenders, how to medically isolate, and how

        to medically restrict.

17.     Beginning March 9, 2020, TDCJ participated in daily briefings by Dr. Hellderstedt, the

        commissioner of health for DSHS.

18.     On March 11, 2020, Dr. Linthicum, on behalf of the TDCJ Health Services Division ,

        called a meeting with other TDCJ divisions to review TDCJ’s pandemic flu plan to tailor

        it for COVID-19.

19.     On March 11, 2020, TDCJ began providing COVID-19 specific updates on its website.

        TDCJ also implemented an Ombudsman Family Hotline for offenders’ families and the

        public.

20.     On March 11, 2020, another meeting was held between Collier and TDCJ healthcare

        representatives. Among other things, they discussed: how to isolate positive offenders;

        facilities with empty beds and whether those beds had medical resources; where medical

        had resources available; what could be done to create space for isolation or large numbers

        of positive cases to separate those offenders from offenders who were not positive.

21.     On March 11, 2020, the Pack Unit instituted screening protocols for offender visitation.

22.     During Collier’s March 4 and 11 meetings, there was discussion about using the dorm at

        the Pack Unit that was under construction for special housing to move Estelle Unit

        offenders in the event the Estelle Unit had positive cases. In early March, the facilities team

        expedited the construction so that space could be utilized.

23.     This dorm was ultimately utilized for offenders at the Pack Unit—not offenders from the

        Estelle Unit.




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24.     On March 12, 2020, TDCJ produced a video that showed staff how to use personal

        protective equipment (PPE). Staff were the first focus for PPE because the threat of

        COVID-19 would be likely be coming from the community.

25.     On or about March 13, 2020, TDCJ management began regular communications with

        TDEM, DSHS, TDCJ’s Health Services Division (which maintains contact with the

        TDCJ Office of Public Health Services), and its university healthcare providers (UTMB

        and Texas Tech) to monitor developments associated with the spread of COVID-19. The

        university healthcare providers, administrative medical staff (regional and at the unit level)

        and TDCJ Health Services Division also began holding daily conference calls.

26.     On March 13, 2020, all in-person offender visitation was suspended at all TDCJ facilities,

        including the Pack Unit.

27.     On March 16, 2020, TDCJ activated the Command Center located at the TDCJ

        Administrative Headquarters Building in Huntsville. The Command Center is staffed by

        various agency leaders Monday-Friday, 7:00 a.m. – 6:00 p.m. and as needed on Saturday

        and/or Sunday. TDCJ conducts conference calls with agency leadership and TDCJ

        personnel. As of July 6, 2020, the Command Center remains operational with staffing by

        agency leaders Monday – Friday, approximately 7:00 a.m. – 6:00 p.m., and conducts

        conference calls with agency leadership and TDCJ personnel as needed during the week.

28.     TDCJ relied on medical health care experts to inform and guide the measures taken by

        TDCJ in response to the COVID-19 pandemic. These experts include the TDCJ Health

        Services Division, TDCJ’s two university medical partners they contract with for offender

        health care services (UTMB and Texas Tech), and epidemiologists.




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29.     TDCJ also relied on CDC guidance to formulate their response to COVID-19.

30.     The following is a non-exclusive list of the precautionary measures TDCJ took in response

        to COVID-19 prior to the implementation of Policy B-14.52 and before there was any

        indication of COVID-19 directly affecting TDCJ facilities:

                   •   TDCJ requested, and the Texas Governor granted, a statutory waiver for

                       all offender medical copays, which have been and continue to be waived;

                   •   TDCJ management asked staff to limit any unnecessary domestic travel,

                       limited agency travel to travel that was necessary, limited international

                       travel, and instituted telework on a case-by-case basis;

                   •   TDCJ advised employees who felt ill or who were running a fever of 100.4

                       degrees or higher to stay at home, began implementing COVID-19

                       screenings for employees who felt ill at work and who worked in parts of the

                       state in which the presence of COVID-19 had been confirmed, and required

                       a physician’s note stating that an employee who appeared to be ill was clear

                       of any symptoms of COVID-19 as a condition of returning to work;

                   •   Effective March 24, 2020, TDCJ minimized transfers between units based

                       upon agency needs on a case-by-case basis.

                   •   TDCJ manufactured COVID-19 related signs, an offender pamphlet, and

                       an offender pocket card. The informational pamphlet and pocket cards

                       were distributed to offenders systemwide. Signs were posted in high traffic

                       areas and other locations on each unit as determined by the unit warden;




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                   •   TDCJ inventoried existing stock of PPE and began to acquire additional

                       PPE for TDCJ units;

                   •   TDCJ increased distribution of hand sanitizer for use by TDCJ employees

                       at all TDCJ units, and in all divisions and departments;

                   •   TDCJ began manufacturing cloth masks, face shields, and plastic gowns as

                       supplemental PPE at TDCJ factories equipped to manufacture such PPE

                       for use by TDCJ offenders and staff;

                   •   TDCJ produces hand soap, which is issued to offenders in all facilities. Each

                       unit was provided adequate supplies of hand soap for use by offenders and

                       staff;

                   •   TDCJ enhanced cleaning and disinfection of its facilities;

                   •   TDCJ implemented social distancing measures as much as operationally

                       possible in a correctional environment.

The Development of CMHCC Policy B-14.52

31.     The process of developing a CMHCC policy to address how to manage COVID-19 began

        in January 2020, when the CMHCC and TDCJ began receiving news about the novel

        coronavirus.

32.     The CMHCC delegated the task of drafting the policy to the Joint Infection Control

        Committee, which created a larger subcommittee to develop the policy.

33.     On March 16, 2020, the Joint Infection Control Committee decided to create a freestanding

        policy that dealt specifically with COVID-19. This decision was made after reviewing two

        standing policies the CMHCC already had: the Influenza-Like Illness Policy (CMHC



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        Infection Control Policy B-14.51) and the Standard Precaution Policy (CMHC Infection

        Control Policy B-14.20).

34.     The Joint Infection Control Committee worked rapidly to complete Policy CMHC B-14.52

        Coronavirus Disease 2019 (COVID-19) by March 19, 2020, when it was approved by Dr.

        Murray, Dr. DeShields, and Dr. Linthicum, the three CMHCC joint medical directors.

35.     Policy B-14.52 is based on guidelines from the CDC and DSHS guidelines.

36.     Dr. Stephanie Zepeda served as chair of the subcommittee created by the Joint Infection

        Control Committee.

37.     Once the original, March 20, 2020 version of Policy B-14.52 was approved by the joint

        medical directors and adopted, it was placed on the Correctional Managed Care (“CMC”)

        website for wide dissemination to unit-based staff. It was also placed in the Correctional

        Managed Care Infection Control Policy Manual and posted on the TDCJ website the same

        day.

38.     After Policy B-14.52 was made available on March 20, 2020, each university medical

        director (Dr. Murray and Dr. DeShields) held conference calls with each of their respective

        regions to review the policy and answer questions.

39.     Six updates have been made to Policy B-14.52 since the original version was posted on

        March 20, 2020. Each time the policy is updated, it is drafted by the subcommittee and

        approved by the joint medical directors.

40.     When the subcommittee updates Policy B-14.52, the policy is widely disseminated via the

        CMC website and each university health care provider’s intranet and posted on TDCJ’s




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        website. Additionally, Dr. Murray and Dr. DeShields hold conference calls with each of

        their respective regions to review the policy and answer questions.

41.     Policy B-14.52 applies to all 104 TDCJ institutions and healthcare facilities, which includes

        the Pack Unit.

42.     TDCJ also disseminates each of the updates to Policy B-14.52 to all 104 TDCJ facilities for

        operational implementation.

Policy B-14.52 and Similarities to CDC Guidelines

43.     The first version of Policy B-14.52 took effect on March 20, 2020. This version of Policy

        B-14.52 was based on the CDC guidance available at the time of adoption on March 19,

        2020.

44.     Three days later, on March 23, 2020, the CDC posted its Interim Guidance on

        Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention

        Facilities. This guidance is specifically intended for correctional and detention facilities,

        which includes state prisons.

45.     After the CDC issued its interim guidance for correctional and detention facilities, the

        CMHCC Joint Infection Control Subcommittee reviewed the CDC interim guidance and

        recommended changes to Policy B-14.52 to ensure that policy and practices were consistent

        with the guiding principles issued by the CDC.

46.     The second version of B-14.52 went into effect on March 27, 2020. This version

        incorporated the recommendations contained in the CDC’s interim guidance for

        correctional and detention facilities.




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47.     Policy B-14.52 is broken up into the following six sections that outline and explain in detail

        the following comprehensive measures: (1) infection control; (2) use of personal protective

        equipment; (3) diagnostic testing; (4) reporting; (5) clinical management; and (6) dental

        management.

48.     Under the infection control section, Policy B-14.52 directs all units to implement the

        following, non-exclusive measures during a COVID-19 outbreak: (1) educate offenders on

        how COVID-19 is transmitted, signs and symptoms of COVID-19, treatment, and

        prevention of transmission; (2) remind staff and offenders on methods used to prevent the

        spread of respiratory virus; (3) practice social distancing; (4) disinfect common areas and

        surfaces that are often touched with a 10% bleach solution; and (5) post visual alerts (signs

        and posters) at entrances, in the medical department, and other strategic places providing

        instruction on hand hygiene, cough hygiene, etiquette, and symptoms of COVID-19.

49.     Policy B-14.52 states that staff and offenders should be encouraged to wash their hands with

        soap and water for at least 20 seconds. If soap and water is unavailable, Policy B-14.52 states

        that hand sanitizer may be used by medical and security staff to cleanse hands.

50.     Policy B-14.52 recommends the use of cloth face coverings in settings where social

        distancing measures are difficult to maintain.

51.     Policy B-14.52 recommends that all units evaluate the need to minimize offender

        movement throughout the unit.

52.     Policy B-14.52 directs that offenders complaining of symptoms consistent with COVID-19

        should be triaged as soon as possible.




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53.     Policy B-14.52 states that offenders with suspected or confirmed COVID-19 cases should

        be placed in medical isolation.

54.     Policy B-14.52 states that offenders in medical isolation should be kept in medical isolation

        until at least 3 days (72 hours) have passed since recovery, defined as a resolution of fever

        without the use of fever-reducing medications and improvement in respiratory symptoms;

        and at least 14 days have passed since symptoms first appeared.

55.     Policy B-14.52 recommends that offenders be placed in medical restriction according to

        their COVID-19 risk exposure.

56.     Policy B-14.52 states that offenders should not be transported on a chain bus or multi-

        person vehicle except for medical emergencies.

57.     Policy B-14.52 states that employees who are sick should stay home and not report to work.

        It recommends that staff be allowed to return to work based on a symptom-based strategy

        or a test-based strategy. Under the symptom-based strategy, staff may return to work 10

        days after symptom onset and 3 days (72 hours) after resolution of fever without the use of

        fever-reducing medications and improvement in respiratory symptoms. Under the test-

        based strategy, staff may return to work if they provide a negative COVID-19 test result

        and a healthcare provider’s note releasing the employee to return to work.

58.     Policy B-14.52 directs that security staff screen all individuals entering the unit for COVID-

        19 symptoms.

59.     Regarding personal protective equipment (PPE), Policy B-14.52 states that offenders who

        are required to perform duties for which staff would wear PPE should be provided the same




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        PPE for the job, except they must not have access to the waterless hand rub but must wash

        hands with soap and water instead.

60.     Policy B-14.52 specifically cites to the CDC’s interim guidance for correctional and

        detention facilities. It also cites to the following CDC interim guidelines: (1) Interim

        Infection Prevention and Control Recommendations for Patients with Suspect or

        Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare Settings; (2) Interim

        Guidance for Management of Patients with Confirmed Coronavirus Disease (COVID-19);

        (3) Interim US Guidance for Risk Assessment and Public Health Management of Persons

        with Potential Coronavirus Disease 2019 (COVID-19) Exposures: Geographic Risk and

        Contacts of Laboratory-confirmed Cases; (4) Interim Guidance for Risk Assessment and

        Public Health Management of Healthcare Personnel with Potential Exposure in a

        Healthcare Setting to Patients with Coronavirus Disease (COVID-19); and (5) Interim

        Guidance for Implementing Safety Practices for Critical Infrastructure Workers Who May

        Have Had Exposure to a Person with Suspected or Confirmed COVID-19.

61.     CDC’s interim guidance for correctional and detention facilities recommends providing

        alcohol-based sanitizer only if soap and water is not available.

62.     Policy B-14.52 conforms with the CDC’s interim guidance for correctional detention

        facilities in all material respects.

63.     Any differences between Policy B-14.52 and the CDC guidelines are insubstantial.

Implementation of Policy B-14.52 and Other Preventative Measures at the Pack Unit

        Pack Unit Logistics




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64.     The Pack Unit currently houses approximately 1,100 offenders. Approximately 800 of

        those offenders are over the age of 65.

65.     There are 60 beds for wheelchair offenders at the Pack Unit.

66.     The Pack Unit consists of 20 dorms inside the perimeter fences and a trusty camp outside

        the perimeter. There are 16 dorms in the main building and four dorms in the expansion

        dorm.

67.     Each dorm in the main building can house approximately 54 offenders, except for two

        wheelchair dorms that can house 30 offenders each. Two of the dorms in the expansion

        dorm have 48 beds each, and the other two dorms have 93 beds each.

68.     Each of the trusty camp dorms have a housing capacity of 107 offenders.

        Policy B-14.52 Implemented at Pack Unit

69.     Upon the issuance of the updated version of Policy B-14.52 on March 27, 2020, TDCJ

        directed its unit personnel—including personnel at the Pack Unit—to put in place the

        operational requirements set out in the policy, including requirements for enhanced

        cleaning and sanitation protocols, signage, education, screening, use of PPE, and medical

        isolation or restriction for confirmed or potential exposures.

70.     Robert Herrera, the warden at the Pack Unit, was made aware by TDCJ that COVID-19

        posed a threat to the offender population at TDCJ in early-to-mid March, 2020.

71.     Since that time, Herrera has been in constant communication about COVID-19 with Gene

        Monroe, his supervisor and regional director.

72.     Herrera has used Policy B-14.52 as a guide on what to implement at the Pack Unit since the

        policy’s enactment.




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        Precautions Implemented in Early-to-Mid March

73.     The Pack Unit was instituting precautions to protect inmates from the potential dangers of

        COVID-19 even before Governor Abbott issued his disaster declaration on March 13, and

        before the creation of Policy B-14.52.

74.     The Pack Unit was already implementing social distancing measures inside the unit, and it

        was conducting temperature checks for employees entering the unit.

75.     As a matter of general correctional practice, Herrera verbally implemented social

        distancing measures at the Pack Unit before Plaintiffs filed their lawsuit by telling offenders

        to stay 6 feet apart and instructing staff to not get close together and maintain 6 feet of

        distance.

76.     Since March 13, 2020, social distancing measures were implemented in areas such as the

        hallways, recreation yards, pill window, commissary line, and the dining hall.

77.     The dining hall was limited to two dorms eating at one time on opposite sides of the dining

        hall.

78.     Feeding only two dorms at one time caused meal serving times to extend from

        approximately 2 hours per meal to feed the Unit (before the pandemic) to taking 4 to 5

        hours to serve each meal.

79.     Social distancing was also implemented at the recreation yard. Before the Pack Unit went

        on precautionary lockdown on April 14, 2020, only two dorms were permitted to go to the

        recreation yard at a time. Recreation was discontinued after the precautionary lockdown.




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80.     Sports equipment, such as basketballs, volleyballs, and handballs were removed from the

        recreation yard to eliminate potential transmission of COVID-19 and to prevent offenders

        from being in close proximity to one another.

        Social Distancing

81.     “Strict social distancing”—requiring 6 feet of space between offenders at all times—is not

        feasible in all areas of the Pack Unit.

82.     The dorms at the Pack Unit cannot be altered to accomplish strict social distancing because

        the dorm cubicles are bolted to the ground and cannot be moved. Moreover, even if the

        dorm cubicles could be moved, the physical layout of the dorms would not allow the

        cubicles to be spread out any more.

83.     The gymnasium cannot be used as alternate living quarters because it is not air conditioned.

84.     Social distancing has been implemented in all areas of the Pack Unit where feasible.

        Offender Education Regarding COVID-19

85.     Several posters have been displayed through the Pack Unit to educate and remind offenders

        to look out for symptoms of COVID-19. The signs and posters remind offenders to wash

        their hands frequently, and to clean and disinfect their living areas frequently.

86.     Specifically, the Pack Unit has posted the CDC poster, “Stop Germs! Wash Your Hands”

        in the main hallways, in high traffic areas between the commissary and infirmary, and the

        front office.

87.     A TDCJ pamphlet entitled “COVID—What to do” has been posted throughout the main

        building at the Pack Unit, the expansion building, the trusty camp, and by all sinks. This




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        pamphlet has been provided to every offender, and offenders have also received this

        information in the form of a pocket card to carry with them.

88.     TDCJ has posted a sign that reads, “How are you feeling? Cough, fever, shortness of

        breath. Contact your supervisor” throughout the main building, the expansion building,

        and in the trusty camp. [Herrera Dec. at 5].

89.     Correctional employees at the Pack Unit have been talking to offenders and answering

        questions about COVID-19 during count checks and daily rounds in each dorm.

90.     Medical staff from the Pack Unit infirmary have been talking with offenders and answering

        questions about COVID-19 when conducting temperature checks twice daily for those

        dorms on medical restriction and when conducting daily temperature and well checks.

91.     TDCJ produced a video about COVID-19 that is being shown to Pack Unit offenders via

        the televisions in the dayrooms of each dorm.

92.     The educational video describes the symptoms of COVID-19 and how to prevent the

        spread of COVID-19 by washing your hands frequently with soap and water.

93.     The video also explains the importance of wearing a mask and maintaining separation or

        social distance between oneself and others to avoid spreading the virus.

94.     The televisions in the dayrooms of each dorm at the Pack Unit have been turned so that

        they are visible to offenders throughout each dorm. The video is shown 3 times per day in

        each dorm of the Pack Unit.

95.     Pack Unit officials are also making announcements twice per week that medical co-pays

        have been waived and offenders may request a sick call with no charge. These

        announcements are made in English and Spanish.




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        Hygiene and Hand Washing

96.     Soap and water are readily available to all offenders at the Pack Unit.

97.     Each offender receives 5 bars of soap per week and may request additional soap at any time

        at no cost.

98.     Unlimited soap has been provided to offenders at the Pack Unit since April 6, 2020.

99.     During the precautionary lockdown, offenders have access to sinks and water to wash their

        hands in each of the dorms throughout the Pack Unit.

100.    TDCJ does not allow offenders to possess alcohol-based hand sanitizer because it is a

        security concern. Additionally, alcohol-based products are considered contraband when

        possessed by offenders in TDCJ.

101.    In its interim guidance for correctional and detention facilities, the CDC recommends

        cleaning hands with an alcohol-based hand sanitizer only if soap and water are not available

        and where security concerns allow.

102.    Soap and water are readily available to all offenders at the Pack Unit.

        Precautionary Lockdown

103.    The Pack Unit went on precautionary lockdown on April 14, 2020, after the unit was

        notified of its first positive COVID-19 case.

104.    The precautionary lockdown was lifted for the trusty camp dorms on April 24, 2020. The

        trusty camp dorms went back on precautionary lockdown on June 4, 2020 when an offender

        residing in one of the dorms tested positive for COVID-19.

105.    Precautionary lockdown means that all transfers to and from the Pack unit have stopped

        unless it is a medical necessity.




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106.     During precautionary lockdown, substantially all offender movement has stopped. The

         only offender movement permitted is for medical emergencies and scheduled showers.

         Otherwise, offenders remain in their housing areas during precautionary lockdown.

107.     The following non-exclusive measures have also been taken at the Pack Unit as a result of

         being on precautionary lockdown since April 14, 2020:

                     •   Offenders do not eat at the dining hall. Instead, they eat each meal in their

                         housing area;

                     •   Showers are offered to offenders three times per week on a rotating

                         schedule, where they receive a clean bath towel for each shower; and

                     •   Medical staff delivers medications to the offenders in their housing areas.

         Cleaning and Sanitation

108.     There is at least one offender janitor (“SSI,” which is an acronym for Support Service

         Inmate) assigned to each common area, including each dorm.

109.     SSIs are supervised by correctional officers assigned to their location. SSIs work 12-hour

         shifts, where they clean continuously and are permitted to take breaks.

110.     Each SSI receives a pair of wrist-length vinyl gloves at the start of his shift.

111.     If the vinyl gloves become damaged or torn, an SSI may request another pair at any time

         during his shift by notifying a correctional officer or the Pack Unit property officer.

112.     Over one year ago, SSIs were given one pair of elbow-length industrial gloves per shift to

         share.

113.     About one year ago, the Pack Unit stopped using elbow-length gloves and began providing

         a clean pair of vinyl gloves to each janitor during his shift.




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114.     During precautionary lockdown, the Pack Unit property officer provides cleaning materials

         to the SSIs in each dorm at the start of each shift.

115.     SSIs at the Pack Unit receive a mop bucket with a bleach pod that is dissolved in a small

         amount of water, which is then filled with water by the SSI’s to use throughout their shift.

116.     Each SSI receives two spray bottles, one containing two ounces of a product called Bippy,

         which is similar to the commercial product Comet, and one containing two ounces of a

         product called “Double D,” which is similar to the commercial product Pine Sol, and the

         SSI then fills each spray bottle with water, so the chemicals are diluted to the required

         concentration.

117.     In response to the COVID-19 pandemic, the Pack Unit also provides a 1.5-gallon sprayer

         filled with 8 ounces of powdered bleached dissolved in a small amount of water that the SSI

         fills with water to use during his shift.

118.     The Pack Unit property officer makes rounds during each shift to determine if SSIs need

         more cleaning materials at any time during his shift by notifying a correctional officer or the

         Pack Unit property officer.

119.     The SSIs clean commonly touched surfaces in the common areas, such as sinks, toilets,

         toilet handles, showers, door handles, telephones, and tabletops.

120.     In the dorms, each offender may clean his own personal housing area, or cubicle, with a

         bleach-based cleaning solution. Additionally, there is a spray bottle of disinfectant cleaner

         available for offenders to use if they wish to clean their housing area more frequently.




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121.   Correctional officers assigned to each area of the Pack Unit monitor and observe the

       janitors’ cleaning to ensure that cleaning is happening on a consistent basis throughout each

       janitor’s shift.

       Mass/Strike Team Testing

122.   TDCJ Coordinated with the Texas Department of Emergency Management (“TDEM”)

       to perform COVID-19 “mass testing” of the offender population and TDCJ staff at the

       Pack Unit.

123.   The mass testing, conducted by “strike teams,” included testing of offenders and staff who

       had not exhibited COVID-19 symptoms.

124.   Mass testing at the Pack Unit was implemented so that TDCJ staff could take additional

       steps within the unit to protect offenders and staff.

125.   Mass testing at the Pack Unit was conducted on May 12-14, 2020. 1,492 tests were

       administered: 1,179 to offenders and 313 to employees.

126.   Between March 17, 2020 and May 26, 2020, in addition to the mass/strike team testing by

       TDCJ at the Pack Unit, 216 COVID-19 tests were ordered by outside healthcare providers

       for offenders assigned to the Pack Unit and employees who work at the Pack Unit.

127.   Those who tested positive as a result of the mass/strike team testing were placed in medical

       isolation, pursuant to Policy B-14.52.

128.   Medical isolation is for persons who are sick and contagious and for those who are

       suspected to have COVID-19. It is used to separate ill persons who have a communicable

       disease from those who are healthy.




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129.     When TDCJ began receiving results of the mass/strike team testing on May 19, 2020, it

         relocated and re-assigned offenders to particular housing areas within the unit based on the

         results.

130.     Due to a concentration of offenders assigned to dorms in D-Hall who received a positive

         test result, Pack Unit officials designated the four dorms in D-Hall—Dorms 13, 14, 15, and

         16—as COVID-19 medical isolation housing for offenders who received a positive test

         result.

131.     Prior to the mass/strike team testing, offenders who had tested positive for COVID-19 had

         been housed in a cohort in Dorm 17 and placed on medical isolation in accordance with

         Policy B-14.52. Offenders who were awaiting their test results were housed in Dorm 19 and

         placed on medical restriction in accordance with Policy B-14.52.

132.     Medical restriction is used to separate and restrict the movement of well persons who may

         have been exposed to a communicable disease to see if they become ill. These people may

         have been exposed to a disease and do not know it, or they may have the disease but do not

         show symptoms. CMHC B-14.52.

133.     After the mass/strike team testing, offenders in Dorm 17 who tested positive were re-

         housed in D-Hall. All offenders who were assigned to Dorm 19 and received a positive test

         result were also re-housed in D-Hall.

134.     After the first round of strike team testing results came back, all dorms in D-Hall were

         placed on medical isolation in accordance with Policy B-14.52. [ECF 122-1 at 9]

135.     Dorms 18, 19, and 20 were designated for offenders who received a “negative” test result.




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136.   Dorm 17 was designated for wheelchair-bound offenders who received a negative rest result

       and for overflow for offenders who received a negative result or were awaiting test results.

137.   There are 27 single cells in restrictive housing at the Pack Unit.

138.   Offenders who are housed in restrictive housing are grouped into positive and negative

       offender groups and housed with at least one buffer cell between the two groups.

139.   Offenders who return to the Pack Unit after a hospital visit are being quarantined for 14

       days in the unit’s education wing. There are 30 beds available in the education building.

140.   Officials at the Pack Unit conducted a second round of mass/strike team testing on June

       23-25, 2020.

141.   As a result of that testing, offenders were again medically isolated or restricted according

       to Policy B-14.52, their test results, and risk level of contracting COVID-19.

142.   The following measures have been taken at the Pack Unit since the second round of

       mass/strike team testing was conducted:

          •   The following housing areas are under medical restriction as of July 6, 2020: A1,

              A2, A3, A4, B5, B6, B7, B8, C10, D13, E18, E19, E20, TC2, and TC3.

          •   The following housing areas are currently under medical isolation as of July 6, 2020:

              D14, D15, D16, E17, TC1, Education Room #2;

          •   Offenders who are symptomatic and are awaiting test results are placed in “pending

              test” housing. In this housing area, offenders are spaced apart to prevent

              transmission of COVID-19. This is made possible by the limited number of

              offenders who are symptomatic who have a pending test. As of July 6, 2020, an




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              education room with a housing capacity of nine offenders is being used to house five

              offenders;

          •   Offenders who return to the Pack Unit after a visit to the hospital are quarantined

              for 14 days in the air-conditioned education wing of the main building. There are 30

              beds available in the education wing;

          •   Regular housing is used for offenders who are negative and do not meet the criteria

              for medical restriction, medical isolation, the “pending test” dorm, or quarantine

              housing. Offenders who have tested positive are returned to regular housing only

              after they have been medically cleared by UTMB.

       Contact Tracing

143.   TDCJ learned on April 13, 2020, that an autopsy performed on offender Leonard Clerkly

       showed he tested positive for COVID-19.

144.   After learning of the positive test, Pack Unit administrators and staff determined that

       Offender Clerkly’s close contacts as defined in Policy B-14.52 were likely limited to those

       offenders who also lived in his dorm—Dorm 3.

145.   Unit administrators immediately placed the 54 offenders assigned to Dorm 3 at the time of

       Clerkly’s death on medical restriction, pursuant to Policy B-14.52.

146.   All 54 offenders living in Dorm 3 were tested for COVID-19 by UTMB staff on April 15,

       2020, and all those offender tests were negative.

147.   The Pack Unit has continued to conduct contact tracing with respect to each Pack Unit-

       assigned offender and Pack Unit employee who has tested positive for COVID-19.




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148.   All offenders assigned to a dorm in which an offender who received a positive test result

       for COVID-19 was assigned at the time of testing are placed on medical restriction when

       that positive test result is obtained pursuant to Policy B-14.52 for at least 14 days. All

       employees identified through contact tracing efforts as having been in close contact with a

       positive COVID-19 case are required to self-quarantine for a minimum of 14 days.

       Employee Quarantine

149.   For employees that are sick or test positive for COVID-19, the Pack Unit follows the Policy

       B-14.52’s staff quarantine procedure. In general, TDCJ employees, including those at the

       Pack Unit, may return to work based on a symptom-based strategy or a test-based strategy.

150.   Under a system-based strategy, employees may return to work 14 days after symptom onset

       if they are no longer exhibiting symptoms, such as fever, cough, or shortness of breath.

151.   Under a test-based strategy, employees may return to work if they provide a negative

       COVID-19 test result and a healthcare provider’s note releasing the employee to return to

       work.

152.   Employees who return to work at the Pack Unit must self-monitor their symptoms and seek

       re-evaluation or medical treatment from a healthcare provider if symptoms recur or

       worsen.

       Communication and Coordination with Authorities

153.   TDCJ has communicated regularly with representatives of the following agencies and

       organizations: the Texas Department of State Health Services, the University of Texas

       Medical Branch, the Texas Tech University Health Sciences Center, the Texas Division

       of Emergency Management, and the Southwest Texas Regional Advisory Council.




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154.   TDCJ leadership has coordinated its response to COVID-19 and communicated regularly

       with representatives of the Office of the Texas Governor, the Office of the Lieutenant

       Governor, the Office of Speaker of the Texas House of Representatives, as well as members

       of the Texas Senate and Texas House of Representatives, including legislators serving on

       the Texas Senate Criminal Justice Committee and Texas House Corrections Committee.

155.   TDCJ’s contact with these agencies, organizations, and entities began with the onset of the

       first reported COVID-19 cases in Texas in the first half of March 2020.

156.   TDCJ representatives have been in contact with federal and state health authorities as they

       have implemented the various steps under Policy B-14.52.

Other Ongoing Precautions at the Pack Unit

157.   Policy B-14.52 continues to be implemented and enforced at the Pack Unit, where the below

       measures, among others, have been taken:

158.   All offenders who receive positive test results for COVID-19 and remain at the Pack Unit

       have been placed in medical isolation. Those offenders are receiving treatment from

       UTMB pursuant to Policy B-14.52.

159.   In furtherance of Policy B-14.52’s provisions related to hygiene, cleaning, and use of PPE:

          •   A process has been continued at the Pack Unit for offenders to receive clean face

              masks daily. Under this process, a used mask is exchanged for a clean mask in a one-

              for-one daily exchange;

          •   A process has been continued by which Pack Unit staff are issued N95 masks and

              face shields, which are to be worn at all times while on the unit;




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          •   A process has been continued to make hand soap available upon request by an

              offender at various locations within the Pack Unit, including the officer podiums

              outside of each dorm. There is no cost to an offender for additional hand soap;

          •   A process has been continued at the Pack Unit for offenders to receive clean face

              towels daily. Under this process, a used face towel is exchanged for a clean face

              towel is a one-for-one daily exchange;

          •   A process has been maintained at the Pack Unit for offenders to receive additional

              toilet paper, as needed. There is no cost to an offender for additional toilet paper;

              and

          •   Common areas within the Pack Unit continue to be cleaned on a regular basis with

              anti-bacterial cleaning materials.

160.   In furtherance of Policy B-14.52’s provisions related to medical restriction due to possible

       exposure to COVID-19, the following steps continue to be taken:

          •   A process continues for medical staff to take the temperatures of offenders who are

              on medical restriction twice daily within the dorms;

          •   Any offender who remains on-site at the Pack unit after testing positive for COVID-

              19 is placed on medical restriction. In addition, the dorm in which the offender

              resided is placed on medical restriction; and

          •   Any offender who remains on-site at the Pack Unit while a test result is pending is

              placed on medical isolation. The offender is returned to the general population only

              if the pending result is negative.

161.   In furtherance of Policy B-14.52’s provisions related to social distancing:



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          •   A process has been continued to minimize staff rotation at duty posts within the

              Pack Unit;

          •   Pack Unit staff have continued to enforce social distancing among themselves and

              offenders when possible, as offenders move outside dorms to other areas within the

              unit; and

          •   A process has been continued to minimize offender “turnout” for work

              assignments at the Pack Unit and to enforce social distancing when possible during

              such turn outs.

162.   In furtherance of Policy B-14.52’s provisions related to dissemination of information and

       education related to COVID-19:

          •   The CDC handout entitled “Share Facts About COVID-19,” and other signage

              informing offenders about the symptoms of COVID-19 and how to prevent spread

              of the virus, continues to be posted in all dorms, and a copy of this CDC handout

              has been distributed to each offender in the Pack Unit;

          •   Pack Unit medical staff continue to answer offender questions during their rounds

              to take temperatures;

          •   Pack Unit correctional staff continue speaking to offenders about COVID-19 and

              answering questions from offenders about the COVID-19 virus;

          •   A video produced by TDCJ continues to be shown on a regular basis to the offender

              population at the Pack Unit. This video explains and discusses COVID-19

              symptoms and methods of preventing spread of the virus, through such actions as




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               washing hands and observing social distancing. This video is made available via the

               televisions in the dayroom of each dorm; and

           •   A process has been continued for regular announcements in English and Spanish

               within each dorm encouraging offenders to request sick call appointments

               whenever they are feeling ill and reminding them that medical co-pays have been

               waived.

       Exhaustion

163.   The Texas prison system has developed a two-step formal grievance process, which must

       be completed in order to satisfy the exhaustion requirement before filing a lawsuit.

164.   The Step 1 grievance, which must be filed within 15 days of the complained-of incident, is

       handled within the offender’s facility of incarceration. If the Step 1 grievance results in an

       adverse decision, the offender has 10 days to file a Step 2 grievance, which is handled at the

       state level.

165.   An offender must pursue a grievance through both Step 1 and Step 2 for it to be considered

       exhausted.

166.   Plaintiffs filed suit in this case on March 30, 2020.

167.   Neither Valentine nor King had filed a Step 1 or Step 2 grievance related to issues in this

       suit before March 30, 2020.

168.   Neither Valentine nor King exhausted the available administrative remedies prior to filing

       suit.

169.   Both Valentine and King have filed multiple grievances since this suit was filed.




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170.     On March 31, 2020, Valentine filed a grievance requesting hand sanitizing solution and

         cleaning supplies for cubicles. Valentine has substantially received the relief he requested.

         He is provided with unlimited soap to facilitate handwashing, and he may clean his own

         cubicle with a spray bottle of cleaning solution.

171.     On April 2, 2020, King filed a grievance requesting that offender transfers to the Pack Unit

         be stopped during the pandemic. King has received the relief he requested. The Pack Unit

         stopped receiving new offenders when it went on precautionary lockdown on April 14,

         2020.

172.     On May 10, 2020, Valentine filed a grievance requesting COVID-19 testing. Valentine has

         received the relief he requested. All offenders at the Pack Unit, including Valentine, have

         been tested for COVID-19.

173.     On May 19, 2020, Valentine requested that Dorm 14 be utilized to facilitate social

         distancing. Valentine has received the relief he requested. Dorm 14 had been under

         construction, and since construction was completed, it has been utilized.

174.     Effective May 26, 2020, TDCJ implemented a new policy for processing offender

         grievances related to COVID-19.

175.     Under the new grievance policy, a Step 1 grievance related to COVID-19 must be processed

         within 15 days with no extensions. A Step 2 grievance must also be processed within 15 days

         with no extensions.

176.     The new COVID-19 grievance policy was not implemented because the previous grievance

         policy was inadequate to address Plaintiffs’ COVID-19 concerns; rather, it was




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       implemented as a proactive measure to show commitment and dedication to addressing

       COVID-19 related grievances in an expeditious manner.

177.   Valentine and King have successfully navigated TDCJ’s grievance process and have largely

       obtained the relief they have requested in their grievances.

                                      LEGAL STANDARD

A.     Injunctive Relief and the Prison Litigation Reform Act

       It is well-settled that a suit against a state employee in his official capacity is the same as a

suit against the state agency. Kentucky v. Graham, 473 U.S. 159, 165 (1985). In general, state

agencies are entitled to Eleventh Amendment immunity from suits brought under § 1983. See

generally Alden v. Maine, 527 U.S. 706, 119 S.Ct. 2240 (1999). An exception to a state official’s

Eleventh Amendment immunity exists, however, for prospective injunctive relief. Ex Parte Young,

209 U.S. 123, 159–60 (1908); Kentucky, 473 U.S. at 167 n.14; Edelman v. Jordan, 415 U.S. 651, 666–

68 (1974). Before granting injunctive relief against a state official, however, the court must make a

straightforward inquiry into whether there is an ongoing violation of federal law. Verizon Maryland,

Inc. v. Public Service Com’n of Maryland, 535 U.S. 635, 645–46 (2002).

       “[A] plaintiff seeking a permanent injunction must . . . demonstrate: (1) that it has suffered

an irreparable injury; (2) that remedies available at law, such as monetary damages, are inadequate

to compensate for that injury; (3) that, considering the balance of hardships between the plaintiff

and defendant, a remedy in equity is warranted; and (4) that the public interest would not be

disserved by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

The Fifth Circuit has cautioned that an injunction “should not be granted unless the party seeking

it has ‘clearly carried the burden of persuasion’ on all four requirements.” PCI Transportation Inc.




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v. Fort Worth & Western Railroad Co., 418 F.3d 535, 545 (5th Cir. 2005) (citations omitted).

       In a case challenging prison conditions like the case at bar, the Prison Litigation Reform Act

(the “PLRA”) imposes additional restrictions on the authority of the Court to grant an injunction.

The PLRA provides that “[p]rospective relief in any civil action with respect to prison conditions

shall extend no further than necessary to correct the violation of the federal right of a particular

plaintiff or plaintiffs.” 18 U.S.C. § 3626(a)(1). In particular, the PLRA prohibits an order granting

prospective relief unless the court first finds that such relief is: (1) narrowly drawn; (2) extends no

further than necessary to correct the harm; and (3) is the least intrusive means necessary to correct

that harm. See 18 U.S.C. §§ 3626(a)(1)(A), 3626(a)(2). In considering a prisoner's request for

prospective relief, the reviewing court “shall give substantial weight to any adverse impact on

public safety or the operation of a criminal justice system” caused by the relief and shall respect

the certain principles of comity where state or local law is concerned. See 18 U.S.C.

§§ 3626(a)(1)(B), 3626(a)(2).

B.     Law of the Case and Law of the Circuit

       The law of the case doctrine provides that both “issues of law and fact” and “legal

principles” announced in a prior decision become the law of that case in all its later stages or

developments. United States v. Teel, 691 F.3d 578, 582 (5th Cir. 2012) (“an issue of fact or law”);

Hoffart v. Wiggins, 600 F. App’x 261, 262 (5th Cir. 2015) (per curiam) (“legal principles”); see also

18B Wright and Miller, Federal Practice and Procedure § 4478 (2d ed.). This rule applies both

horizontally (“constricting a later panel [or judge] vis-à-vis an earlier panel [or judge] of the same

court“) and vertically (“constricting a lower court vis-à-vis a higher court”). In re Deepwater

Horizon, 928 F.3d 394, 398 (5th Cir. 2019). As is the case here, “an appellate court’s decision to




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stay (or not) a lower court decision or to reverse (or affirm) a preliminary injunction amounts to a

final decision for purposes of the [law of the case] doctrine.” Bryan A. Garner et. al., The Law of

Judicial Precedent § 53 (2016). The law of the circuit doctrine provides that published Fifth Circuit

opinions are binding precedent—on later Fifth Circuit panels and on all district courts within the

circuit. A later three-judge panel may not overrule another, so an earlier precedential opinion

controls the later panel. Sw. Bell Telephone Co. v. City of El Paso, 243 F.3d 936, 940 (5th Cir. 2001).

C.      Exhaustion

        The PLRA requires inmates to exhaust “such administrative remedies as are available”

before filing suit in federal court to challenge prison conditions. 42 U.S.C. § 1997e(a). The

Supreme Court has made clear that the exhaustion requirement applies to all suits regarding prison

life, Porter v. Nussle, 534 U.S. 516, 532 (2002), and that “unexhausted claims cannot be brought in

court,” Jones v. Bock, 549 U.S. 199, 211 (2007). Exhaustion is mandatory. The statute provides no

exception for “special circumstances.” See Ross v. Blake, 136 S. Ct. 1850, 1856-57 (2016); see also

Farmer v. Brennan, 511 U.S. 825, 847 (1994) (in a case seeking injunctive relief to address

“current” prison conditions, inmates are not “free to bypass adequate internal prison procedures

and bring their health and safety concerns directly to court”); Valentine v. Collier, 956 F.3d at 805.

And there are no “futility or other [judicially created] exceptions [to the] statutory exhaustion

requirements.” Booth, 532 U.S. at 741 n.6.

        The PLRA creates an exception to the exhaustion requirement only when administrative

remedies are not “available.” A remedy is not “available”—and exhaustion is not required—

when:

        (1) the procedure “operates as a simple dead end” because “the relevant
            administrative procedure lacks authority to provide any relief,” or



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           “administrative officials have apparent authority, but decline ever to exercise
           it”;

       (2) the “administrative scheme [is] so opaque that . . . no reasonable prisoner can
           use them”; or

       (3) “prison administrators thwart inmates from taking advantage of a grievance
           process through machination, misrepresentation, or intimidation.”

Ross, 136 S. Ct. at 1859–60 (quotation omitted). When the State provides administrative remedies,

the prisoner bears the burden to prove that those remedies are not available. See, e.g., Rinaldi v.

United States, 904 F.3d 257, 268 (3d Cir. 2018) (“[T]he onus falls on the inmate to show that such

remedies were unavailable to him.”); accord Albino v. Baca, 747 F.3d 1162, 1172 (9th Cir. 2014) (en

banc); Tuckel v. Grover, 660 F.3d 1249, 1254 (10th Cir.2011); Turner v. Burnside, 541 F.3d 1077,

1082 (11th Cir.2008); Foulk v. Charrier, 262 F.3d 687, 697 (8th Cir.2001). Additionally, the

Supreme Court has made clear that the administrative process qualifies as a “dead end” only when

it creates no “potential” for an inmate to obtain relief. See Ross, 136 S. Ct. at 1859. As long as the

State’s administrative procedure grants “authority to take some action in response to a complaint,”

that procedure is considered “available,” even if it cannot provide “the remedial action an inmate

demands.” Id.

D.     Deliberate Indifference

       To establish an Eighth Amendment violation in the prison context, “the inmate must show

that he is incarcerated under conditions posing a substantial risk of serious harm” and that the

prison official acted with “deliberate indifference” to the inmate’s health or safety. Farmer v.

Brennan, 511 U.S. 825, 834 (1994). Deliberate indifference under the Eighth Amendment requires

a showing of “subjective recklessness” as used in criminal law. Id. at 839. Under the deliberate-

indifference standard, “a prison official cannot be found liable under the Eighth Amendment for



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denying an inmate humane conditions of confinement unless the official knows of and disregards

an excessive risk to inmate health or safety.” Id. at 837. “[D]eliberate indifference ‘is a stringent

standard of fault, requiring proof that a [defendant] disregarded a known or obvious consequence

of his action.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (quoting Bd. of Comm’rs of Bryan Cty.

v. Brown, 520 U.S. 397, 410 (1997)). “Deliberate indifference encompasses only unnecessary and

wanton infliction of pain repugnant to the conscience of mankind.” McCormick v. Stalder, 105 F.3d

1059, 1061 (5th Cir. 1997); see also Easter v. Powell, 467 F.3d 459, 463 (5th Cir.2006) (citing Wilson

v. Seiter, 501 U.S. 294, 297 (1991). This is “an extremely high standard to meet,” Domino v. TDCJ,

239 F.3d 752, 756 (5th Cir. 2001), and it “exists wholly independent of an optimal standard of

care.” Gobert v. Caldwell, 463 F.3d 339, 349 (5th Cir. 2006).

        A prison official’s failure to avoid harm or eliminate a risk does not violate the Eighth

Amendment. To be liable for deliberate indifference, the official must “know of and disregard an

excessive risk to inmate health and safety.” Stewart v. Murphy, 174 F.3d 530, 534 (5th Cir. 1999)

(quoting Estelle v. Gamble, 429 U.S. 97, 102-03 (1976)) (emphasis added). “[A] prison official may

be held liable under the Eighth Amendment for denying humane conditions of confinement only if

he knows that inmates face a substantial risk of serious harm and disregards that risk by failing to

take reasonable measures to abate it.” Farmer, 511 U.S. at 847. Actions and decisions that are

merely inept, ineffective, or negligent do not constitute deliberate indifference. Thompson v. Upshur

Cty., Tex., 245 F.3d 447, 458-59 (5th Cir. 2001) (“[D]eliberate indifference cannot be inferred

merely from a negligent or even a grossly negligent response to a substantial risk of serious harm.”).

And complaints that policies or practices were inadequate to prevent harm—even if true—are not

sufficient for liability. See, e.g., Brumfield v. Hollins, 551 F.3d 322, 328 (5th Cir. 2008) (while jail’s




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policies “lacked the specific directives Brumfield would have preferred to have been in place,

policies nonetheless existed”).

       Additionally, deliberate indifference is not the equivalent of negligence; rather, deliberate

indifference “describes a state of mind more blameworthy than negligence.” Farmer, 511 U.S. at

835. Evidence of unsuccessful medical treatment, negligence, neglect, or even malpractice is

insufficient to demonstrate deliberate indifference. Varnado v. Lynaugh, 920 F.2d 320, 321 (5th

Cir. 1991). Moreover, an inmate’s dissatisfaction or disagreement with the medical treatment he

received does not mean that he suffered deliberate indifference. See Norton v. Dimazana, 122 F.3d

286, 292 (5th Cir. 1997). Therefore, neither claims of negligence nor disagreement with the type

of medical care received rise to the level of a constitutional issue under section 1983. See Gobert v.

Caldwell, 463 F.3d 339, 346 (5th Cir. 2006). Rather, an inmate must show that the officials

intentionally treated him incorrectly, refused to treat him, ignored his complaints, or engaged in

similar conduct that would “clearly evidence a wanton disregard for any serious medical needs.”

Domino, 239 F.3d at 756. “Prison officials who actually knew of a substantial risk to inmate health

or safety may be found free from liability if they responded reasonably to the risk, even if the harm

ultimately was not averted.” Farmer, 511 U.S. at 844 (quoting Wilson v. Seiter, 501 U.S. 294, 297,

302–03 (1991)). In determining whether officials have been deliberately indifferent, courts must

give “due regard for prison officials’ ‘unenviable task of keeping dangerous men in safe custody

under humane conditions,’” id. at 845 (quoting Spain v. Procunier, 600 F.2d 189, 193 (9th Cir.

1979)), and “consider arguments regarding the realities of prison administration,” Helling v.

McKinney, 509 U.S. 25, 37 (1993).

E.     Americans with Disabilities Act and Rehabilitation Act




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        “A prisoner’s rights are diminished by the needs and exigencies of the institution in which

he is incarcerated. He thus loses those rights that are necessarily sacrificed to legitimate

penological needs.” Elliott v. Lynn, 38 F.3d 188, 190-91 (5th Cir. 1994). The Fifth Circuit has held

that an ADA claim is not available under Title II under “exigent circumstances.” Hainze v.

Richards, 207 F.3d 795, 801 (5th Cir. 2000); accord Wilson v. City of Southlake, 936 F.3d 326, 331

(5th Cir. 2019) (“[O]fficers do not first have to consider whether their actions will comply with the

ADA . . . when they are reacting ‘to potentially life-threatening situations.’”).

        Title II of the ADA prohibits “disability discrimination in the provision of public services.”

Frame v. City of Arlington, 657 F.3d 215, 223 (5th Cir. 2011). Specifically, Title II of the ADA

provides that “no qualified individual with a disability shall, by reason of such disability, be

excluded from participation in or be denied the benefits of the services, programs, or activities of a

public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132. Similarly,

the RA prohibits discrimination against individuals with disabilities in federally-funded

institutions. See 29 U.S.C. § 794(a).

        The same legal standards apply to both the ADA and the RA. See Kemp v. Holder, 610 F.3d

231, 234 (5th Cir. 2010). To establish a viable claim, a plaintiff must show that: (1) he is a qualified

individual with a disability; (2) he is being denied the benefits of services, programs, or activities

for which the public entity is responsible, or is otherwise discriminated against by the public entity;

and (3) he is being discriminated against by reason of his disability. See Hale v. King, 642 F.3d 492,

499 (5th Cir. 2011); Back v. Texas Dep’t of Criminal Justice Institutional Div., 684 F. App’x 356, 358

(5th Cir. 2017). Under both statutes, the plaintiff must show intentional discrimination. Delano-

Pyle v. Victoria Cty., 302 F.3d 567, 574 (5th Cir. 2002).




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                                    CONCLUSIONS OF LAW

Law of the Case

1.     The Fifth Circuit’s holding in Valentine I that TDCJ’s grievance procedure is “available”

       to Plaintiffs and that they were therefore required to exhaust their administrative remedies

       before filing suit is now law of the case.

2.     The Fifth Circuit’s holding in Valentine I that TDCJ’s grievance procedure is “available”

       to Plaintiffs and that they were therefore required to exhaust their administrative remedies

       before filing suit is now law of the circuit.

3.     The Court is bound by the Fifth Circuit’s holding in Valentine I under the law-of-the-case

       and law-of-the-circuit doctrines.

4.     Therefore, as held by the Fifth Circuit in Valentine I, TDCJ’s grievance procedure was

       available to Plaintiffs and, accordingly, Plaintiffs were required to exhaust their

       administrative remedies under the PLRA before filing suit.

5.     Moreover, the Fifth Circuit’s determination in Valentine I (that Plaintiffs cannot establish

       deliberate indifference) and Valentine II (that TDCJ has voluntarily implemented policies

       and procedures that overlap with the measures ordered by the Court in its preliminary-

       injunction order) are binding on the Court.

6.     The Fifth Circuit’s holdings in Valentine I and Valentine II foreclose Plaintiffs’ claim that

       Defendants acted with deliberate indifference.

7.     Defendants cannot meet their burden of proving that Defendants acted with deliberate

       indifference as a matter of law.




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Exhaustion

8.      Plaintiffs bring a suit challenging prison conditions; therefore, they were required to

        exhaust their administrative remedies under the PLRA before filing suit.

9.      Valentine did file a Step 1 or Step 2 grievance related to the complaints he brings in this suit

        before suit was filed. Therefore, he did not exhaust his administrative remedies as required

        by the PLRA.

10.     King did not file a Step 1 or Step 2 grievance related to the complaints he brings in this suit

        before suit was filed. Therefore, he did not exhaust his administrative remedies as required

        by the PLRA.

11.     Since this suit was filed, both Valentine and King have heavily utilized the grievance

        process. Therefore, TDCJ’s grievance procedures are not “so opaque that . . . no

        reasonable prisoner can use them.”

12.     Valentine and King have received much of the relief they had requested in their grievances.

        As to these requests, therefore, the grievance process has not resulted in a “dead end.”

13.     As to any grievances that have not been resolved to Valentine and King’s satisfaction,

        Valentine and King have not shown that TDCJ’s grievance process does not grant TDCJ

        the authority to take some action in response to their complaints.

14.     There is no evidence that TDCJ administrators thwarted Plaintiffs from taking advantage

        of the grievance process through machination, misrepresentation, or intimidation.

15.     TDCJ’s grievance process was available to Plaintiffs; therefore, they were required to

        exhaust their remedies before filing suit.

16.     Plaintiffs’ failure to exhaust before filing suit is fatal to their claims.




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Deliberate Indifference

17.     TDCJ began discussing formulating a response to COVID-19 in early February 2020,

        before any COVID-19 cases were identified in Texas. This demonstrates that Defendants

        did not disregard an excessive risk to inmate health or safety.

18.     In formulating and implementing Policy B-14.52, TDCJ relied on experts, including the

        CDC, and its infectious disease experts from its university healthcare providers—Texas

        Tech and UTMB. TDCJ’s reliance on experts to formulate a specific COVID-19 related

        plan was a reasonable measure to abate the risk of harm presented by COVID-19.

19.     TDCJ’s implementation of a Policy that substantially complies with CDC guidelines for

        mitigating the spread of COVID-19—Policy B-14.52—was a reasonable measure to abate

        the risk of harm presented by COVID-19.

20.     TDCJ acted promptly by implementing Policy B-14.52 on March 20, 2020, before the CDC

        had drafted specific guidelines applicable to correctional and detention facilities. TDCJ’s

        prompt implementation of Policy B-14.52 belies any assertion of deliberate indifference.

21.     TDCJ’s updates to Policy B-14.52 as new information about the coronavirus is discovered

        indicates that it is not disregarding an excessive risk to inmate health or safety.

22.     Collier participated in TDCJ meetings in early March to formulate a plan in response to

        COVID-19. This demonstrates that Collier did not disregard an excessive risk to inmate

        health and safety.

23.     Since March 16, 2020, TDCJ and its executive leadership, including Collier, have

        participated in daily briefings regarding COVID-19 at TDCJ’s Command Center. This

        demonstrates that Collier has not disregarded an excessive risk to inmate health and safety.




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24.     Herrera has implemented Policy B-14.52 at the Pack Unit and has been in constant

        communication with his supervisor regarding COVID-19 since early-to-mid March. This

        demonstrates that Herrera has not disregarded an excessive risk to inmate health and

        safety.

25.     Herrera’s implementation of Policy B-14.52 at the Pack Unit represents a reasonable

        measure to abate the risk of harm presented by COVID-19.

26.     Herrera’s implementation of precautionary measures at the Pack Unit before the

        promulgation of Policy B-14.52—such as social distancing measures and temperature

        checks—demonstrates that he has not disregarded an excessive risk to inmate health and

        safety.

27.     Herrera’s implementation of Policy B-14.52 and his continued enforcement of Policy B-

        14.52 at the Pack Unit demonstrates that he has not disregarded an excessive risk to inmate

        health and safety.

28.     To the extent Plaintiffs contend that Defendants’ actions have been inept, ineffective, or

        negligent, such actions do not constitute deliberate indifference.

29.     Plaintiffs’ complaints of occasional lapses in the enforcement of Policy B-14.52 at the Pack

        Unit do not establish deliberate indifference. At most, such allegations might indicate

        negligence, which is a lower standard than deliberate indifference.

30.     Plaintiffs’ allegations that Defendants have failed to avoid the harm presented by COVID-

        19 or eliminate the risk of COVID-19 does not establish deliberate indifference.

31.     Plaintiffs have not met their “extremely high” burden of showing deliberate indifference.




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32.     Plaintiffs have not shown that Defendants have engaged in unnecessary and wanton

        infliction of pain repugnant to the conscience of mankind.

33.     Defendants Collier and Herrera have not been deliberately indifferent in violation of the

        Eighth Amendment.

ADA and RA Claims

34.     TDCJ is operating under exigent circumstances due to the COVID-19 pandemic; therefore,

        the ADA does not apply, and Plaintiffs cannot prevail on their ADA and RA claims.

35.     Alternatively, Plaintiffs have not shown they were discriminated against because Policy B-

        14.52 applies to all Texas prisons—not just the Pack Unit.

36.     Further, Plaintiffs have not shown they have been discriminated against because of their

        disabilities.

37.     Plaintiffs have not demonstrated that Defendants have denied them participation or the

        benefits of any of the Pack Unit’s services, programs, or activities.

38.     Further, Plaintiffs have not demonstrated that Defendants have denied them participation

        or the benefits of any of the Pack Unit’s services, programs, or activities because of their

        disabilities.

39.     Since Plaintiffs have failed to demonstrate discrimination by reason of their disabilities,

        they cannot prevail on their ADA and RA claims.




                                                      Respectfully Submitted.

                                                      KEN PAXTON
                                                      Attorney General of Texas




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                             NOTICE OF ELECTRONIC FILING

       I, CHRISTIN COBE VASQUEZ, Assistant Attorney General of Texas, certify that I have

electronically submitted a true and correct copy of the foregoing for filing in accordance with the

Court’s electronic filing system, on July 6, 2020.


                                              / s/ Christin Cobe Vasquez
                                              CHRISTIN COBE VASQUEZ
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                                CERTIFICATE OF SERVICE

       I, CHRISTIN COBE VASQUEZ, Assistant Attorney General of Texas, certify that a true

and correct copy of the foregoing Defendants’ Proposed Findings of Fact and Conclusions of

Law has been served electronically upon all counsel of record via the electronic filing system of

the Southern District of Texas, on July 6, 2020.


                                             / s/ Christin Cobe Vasquez
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